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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:06CR214
                              )
          v.                  )
                              )
JOSE RAMIREZ-SOLANO,          )                        ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s notice

of appeal (Filing No. 96).         The Court notes no appeal fee was

received, nor has defendant submitted a motion to proceed in

forma pauperis with an accompanying affidavit and a copy of his

inmate trust account statement.         Accordingly,

          IT IS ORDERED:

          1) Defendant’s notice of appeal will be held in

abeyance until defendant either pays the $455 filing fee for an

appeal, or submits a motion to proceed in forma pauperis with an

accompanying affidavit and a copy of his inmate trust account

statement.
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          2) Defendant’s motion for appointment of counsel is

denied without prejudice to being renewed with the United States

Court of Appeals for the Eighth Circuit.

          DATED this 20th day of February, 2007.

                                   BY THE COURT:


                                   /s/ Lyle E. Strom
                                   ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
